       Case 2:21-cv-04569-JAK-KS                            Document 10-1                      Filed 08/06/21                   Page 1 of 14 Page ID
                                                                    #:115             -,-~·-
                                                                                                                                     -                                  CM-010
ATTORNEY OR PARTY WITHOUT ATIO~NE,Y (Nam'!, SILi" fJar111/f!IW, 8Jld ~ ) :                                                               FOR:CQQRTf.1$1;.QNLY
 LUIS A. WHITE NOTARY SERVlCl=S LLC
 6514 MENl..O AVE.
 Los Angeles, Calif. [90044}
        TELEPHONENO,; 213•894•2426                            FAX NO. (Op/i0I1al}:
   ATTORNEY FOR (Name): TRACY l... WU.KSON

$UPERIQR COURT OF CALIFORNIA, COUNTY OF
 STRl:IIT AODRESS: 1400 UNITED STATES COURTHOUS!:i                                                                                               '
 t.1AILINGAPORESS:312 NORTH SPRING STRIEET
CITY ANO 2:IP COOE:l..OS ANGELES, CAI..IFORNIA 90012
    BRANCH NAM!;,

CASE NAME:
UNITED STATES OF AMERICAN V. REAl PROPERTY
       CIVIL CASE COVER SHEET                                   Complex Case Designation                          CASE NUMBE;R;

I l<, I I.Jolimlt,d            CJ Limited                    D                                                      NO. 2:21-cv4569
       (Amount                         (Amount
                                                                     Count~r
                                                                                          □ Jolnder                                                       --·-
       demanded                        demanded ls
                                                           Filed with first appearance by defendant               Jl./l;lGI::
       exceeds $25,000)                                        (Cal. Rules of Court, rule 3.402)
                                                                                              QEPTc:
                               $25,000)
                                t~ms 1.;,,6 5alow mUsfbe coii(leteil
                                                              p       (see lniitit1ctlon$ on pt;ige 2 •                                         --· -·-


 1. Check <>ne box below for the case type that be$t d8$Crlbe$ this Q8$e:
   A1,1to Tort                                             Contract                                           Provlsllmally Complex Civil l.itlgation
   D       A1.1to (22)                                    0        Sreach of contrac;tlwal'l'c!nty (Q6}       (Cal, R.ule$ of Ce>urt, n,les, 3,400·-,3.403)
   c:J lJnimMed motorist (46)                             [      I Rule 3.740 collectiom1 (09)                D         AntltnJsVfrade 1'89Ulation (03)
   Other Pl!Pll!WD (Pel'$onal tnJ1uy/Pre>pe!1y            CJ Other collec;tlons (09)                          I :-:I C.onstruction def~ (10)
   Damage/Wrongful O.ath) Te>rt                           □- lnsurancca CQverage (18)                         t__ I Mass tort (40)
   CJ Asbestos (04)                                       ·--.- =·                    -                       I •J SeCllrltles lltlgation (28)
   t=J Prciduc.:t llabllity (24)                          CJ other contract (37)                          ! .:1 l;nvlronm11ntal/Tc:>1dc tort (3Q}
   ~ M d' I I ...: · (45)                                 Rtal Property
   L...-1 .e ,ca. 1m1 pra.,i.,ce ·                        D     E;minent domc1inllnverse                      J.• _-, · lnsyrance coverage clalrru, arising from the
                                                                                                               --       above lli;;ted pl'Qvii;;lonally OQmpJex ®1:1e
   [_"J Other Pl/PP/WO (23)                               - - condemnation (14)
                                                                                                                        types (41)
   Non.Pl/PD/WP {Other) Tort                              D wrongful eviction (33)                            enf9rc.em,nt of Judgm,nt
   L•J Susiness tort/unfair business pl"8ctice (07) [ X I Other real property (26)                            I ~] enforcement Qf judgment (20)
   D Civil rights (OB)                              Unlawful Detilin'!r                                       Miscellaneous CMI Complaint
   I    I Defamation (13)                                 D  Commerc;lal (31)                             CJ RIC0(27)
   d Fraud (16)                                           CJ Reeidential (32)                             [-I Other complalot (not ~c:itfed ttbove) (42~
   L~-1 lntelle<;tt1~! property (19)                      0  Drugs (38)                                       M1$i,;ellaneous CMI Petition
   D        Profe!i$fonal negligence (25)                 J1.1dic,;1i,1I Review
                                                                                                          D
   I - -:-1 Other non-Pl/PO/WO tort (35)                  r· J Asset fQrfelture (05)                      D
                                                                                                                        Partnership and c:orporate governance (21)
   Employment                                             D Petlli1m re; arbilratlon award (11)                         Other petition (not $pt:c/lled abQve) (43)
   D        Wrongful termination (36)                     C-. -1 Writ of maoc;late (02)
   t:::J    Other ~mployment(1!;i)                        ! X I Other judicial ~view (39)
2. ·-This case [~~-1 Is            [TI is not CQmplex under rule 3:400 of the California Rule$ of CQurt. If the ~se is complex. mark the
    factors requiring ex~ptional judicial management:
     a. D large number of separately represented parties                 d. D Large number of witnesses
     b. I . --.-.-, Extensive rnotlcm praati~ raising difficult Qr novel e. CJ Coordination with relEtted actions pending in one ot more
        · · -- issues that will be time~conauming to resolve                    courts in other counties, states, or countries, or In a federal
     c.D            Substantial. amount of doQumentary eviden~                . c<>i.u-t
           -                                                             f. .        D
                                                                                Substantial postjudgment judiciiill supel'Vislon
3. Remedies sought (check_ all that a_ppJy): a. c:J monetary b. CK:r nonmonetary; declaratory or injunctive ~ief c. t·_-.-.- .1 punitive
4. Number of causes of action (specify):
5, This case I ·] is            r   l<] Is not a class action suit.
6, If there are any knQWn related cases, file and serve a notice of related case. (You may u~ form QM,..()16.)
Date: Julv 28. 2021
Melvin Huges

                                                                                  0 C
                                                                                                          ►
 • Plaintiff must file this cover sheet with the first paper flied in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare anct lnstiMions Code), (Cal. Rul.es of Court, 11.1le 3,220.) Failure-to file may result
   In sanctions.
 • File this cover sheet in adctition to any cover sheel required by lo®I court mle,
 • If thls case is complex 1.mder nde ~.4Q0 e,t seq, Qf the Califgmia R1,.1les c;if QQ1,.1rt, ygu mu$t serve a CQPY of thli oover sheet 011 all
   other parties tQ the aQtign or proceeding.                                                 ·                  ·
 • Unless this ls a collections case under rule 3.740 or a c;c;implex case, thl.s. cc;iver sheet will be used for statistical purposes only.
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                                                                                                                           Cpl, RIJ~ 11f Olu~, Mas ,l?.30, 3j20, M00,.3.<(~, 3.74Q;
                                                                         3
                                                            CIVIL CASIE COVER SHEET                                                                   Exhibit
                                                                                                                                   C;d, StandtfllS ~ Ju(lil;ial       "A" Sid, 3,10
                                                                                                                                                                AdroJnmtlon,
                                                                                                                                    .                            IVWIV,CQl!f!S,(111,IJQV
       Case 2:21-cv-04569-JAK-KS                 Document 10-1              Filed 08/06/21      Page 2 of 14 Page ID
                                                         #:116
        Private                                     Cert

        The, MELVIN HUGES, Estate
        c/o                                                  1111111111111111111111
        ON: Malibu: ON: California                                          RA 987 568 ~75 US
                                                           Label 2DO,·Jt.t!y 1989              tHJ2595) 99-M-1904
0                                          To and in tht:: u1!>tr ru '-uun: or me umtea ::.tates
n                                                 for the central district of California

d       In Re united States of America       )                                         Cause of Action:_ _ _ _ _ _ _ __
                         Plaintiff,          )
e                 v.                         )                                         COUNTERCLAIM AGAINST No. 2:21--cv-4569
d                                            )
        Real Property WITH                   )                                         1- COUNTERCLAIM BY 3rc1 Party PLAINTIFF:
                  t=ictious Defenda:-,t.     )                                         MEMORANDUM AND PETITION FOR ORDER
Five ======-===--====-:::=---=====)                                                    TO DISMISS WITH PREJUDICE;
Billion melvin huges,             )                                                    MEMORANDUM OF POINTS & AUTHORITIES.
              Third Party Plaintiff,         j                                         AND, AN ORDER TO SHOW CAUSE, IN THE
        ALTERNATIVE                          }                                         ALTERNATIVE TO SAID PETITION FOR RELIEF.
                                             \
                  v.                         I                                         Date:
$       Janet Yeilan, Treasurer              )                                         Time:

5, ___________                                                                         Location:
                                             \
        Third~Party Defendant.               J
                                             )
                                                                                       /s

0       To: the district court of the united states, Comes Now the above-entitled plaintiff. under 'special visitation' to petition
        this lwn.ornble .;:;1),11t ;.)r relief via. this Counterclaim against the fictitious plaintiff, named above, located without the ·
0       geogrz:phical a:·ea c,+ the "United States, and or the United ·States of America"; the land area commonly referred to as
        the Thirteen (13) Original Colonies; and
0,      1-        And, b)1 so, thfs cau:t is ·.ivithout subject matter jurisdiction to proceed on this matter as the prosecutorial ally
        facilitating the engbeered ckim under guise of a corpus delicti; i.e., an 'injured party'. No evidence is submitted of
0       loss, and 0°: :njmy(les), sustained resulting in a lawful claim(s) for remedy against the, MELVIN HUGES,
        Estate/Trust; and
0       2~     The Third Party Ph,intiff brings this action for relief, pursuant to Rule 13, of the Federal Rules of Civil
0,      Procedure, ,,vherein the in)ny(ies) srn:tained are within the same matter now before this court; and

        3-·     The presecutorial parties alleges facts not supported by any submitted evidence. And has further executed a
0       case this principal believes to be the result from accounts of engaging the 'commingling of 'species of ''money" to
        foster cldms -dmt 'W:; with:..t.t the geographical territory(ies) of the united States, or the united States of America, as is
0       portraye.j by the 2 1kg1ng Piuty(ies) Plahtiffin the above commercial account 'for profit', account; ·

0.      4-      The. jurlsdkfc 1 d this court over the subject matter, is said to be essential, necessary, indespensible, and
                                  0



        an elementarv prcre:quis.i'ta to the exercise of judicial powers. 21 C.J.S., "Courts",§ 18, p. 25; without such, a court
0       cannot legaliv µroi::eec wi£11 <:! tda! oi Hie facts, or make a judgment over the matter at hand;

0       s~        The Third-Party Plaintiff alleges the subject matter jurisdiction of this court is lacking, as the allegations are
U,S.D. not supported oy recognizable evidence against the, MELVIN HUGES, Estate, a nontaxpayer, who's not within the
        geographical jwrisdict'ion of the 'acting united states attorney', or this honorable court, as there is no material
        object in com:roversv as aiieged to be within said geographical jurisdictions at huges Estate issue; and

                                                                      1/5


                                                                  4                                            Exhibit "A"
          Case 2:21-cv-04569-JAK-KS               Document 10-1          Filed 08/06/21        Page 3 of 14 Page ID
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          7-      The Third-Party Plaintiff requests this court grant the attached Counterclaim, in providing the relief
          sustained, in addition to the ORDER TO SHOW CAUSE against the attorney general, compelling that party to show
          proof before this court, why said relief prayed for, should not be granted, along with any and all additional relief
          that such injuries so deserve in the above numbered matter;
B
                                                     JURISDICTION AND VENUE
0
          8-       "The proceedings in any court are void if it wants jurisdicion of the case in which it has assumed to act.
n         Jurisdiction is, first. of the 'subject-matter', second, of the persons whos' rights are to be passed upon .." Thomas
d         Cooley: 'A Treatise on the Constitutional Limitations'.

e         9-        In this instance, the law, from where the court and the attorney general are presumed to acquire
          jurisdiction, are 'administrative" (corporate) in nature; and are not applicable to the alleged
d         Respondent/defendant. The !aw, as deemed 'Constitutinal', has to present three (3) essential elements: 1- Title; 2-
          Enacting Clause; and 3- Body. The structure of the law raised and alleged to have been violated by this Third-Party
          Plaintiff, has but two (2) parts. And in no way, appears Constitutionat in nature or structure; and is therefore
Five      NONconstitutional, in fact; and
Billion
          10-      Consent cannot confer jurisdiction; jurisdiction is conferred by the law. The 'Issue' of challenge to the
          'subject matter jurisdiction' may be challenged at any time. 21 American·Jurisprudence, 2 nd , "Common Law;',§

s         339, p. 589 "Jurisdiction to decide is jurisdiction to make a 'right or wrong' decision. Pope v. United States, 323
          U.S. 1, 65 Sup. CT. Rep. 16, 23 (1964)                        .

5,        11     ln regards to the, 'Statement of Facts', there IS NO SWORN, NOTARIZED TESTIMONY UNDER PENALTY OF
          PERJURY, NOTARIZED STAMP FOR WITNESS OF THE PRESENTMENT(s), OR AFFIDAVITS SWORN BEFORE A NOTARY;
0
0         12-     The alleged complaint contains argument; and argument IS NOT evidence, first-hand, or otherwise, submitted
          under penalty of perjury. This 'arbitrary "data", is made to be presented to a bias, clerk or third-party attorney

0,        general for favor under guise of a court's enactment of a judicial response;


0         13-     There is nothing for the Third Party Plaintiff to dispute, argue against, or contradict. No facts are in evidence,
          thus there is no need to present evidence directed to contradict the conjecture;

0                                             UNCONTROVERTED 'FACTUAL EVIDENCE'
0,        14-    n, June 03. 2021, the attorney general's office mailed an instrument entitled, 'VERIFIED COMPLAINT FOR

0         FORFEITURE' (theft), to the United States District Court, for the Central (Tax) District of California, No. 2:21-cv-4569;

          15-      Certain private informations contained therein, alleged, the, MELVIN HUGES, Trust is the private person
0         responsible for violating IRS Codes, Statutes, and Regulations. And that attorney general submitted said 'data' to this
          court in hopes that a previous, arbitrary and capricious criminal/civil arrest of property(ies) already held under such
0.        UNCONSTITUTIONAL SEIZURE, in violation of U.S. Constitution's Fourth Amendment, would be confirmed and
          deemed justified, in retrospect;
0
          16-   Such arbitrary and Ul"-Jconstitutional seizure ofproperty{ies) are acts frequently committed against
0         American prejudicially classified as "Black", "Negro{es)", "Slaves", and "Taxpayers"; not NONtaxpayers;
U,S.D.
          17-     The latter, NONtaxpayers are without and outside the scope of such 'revenue laws and codes', per,
                                                             1


          Long v. Rasmus_sen, {D. Mont. 1922) 281 F. 236). "The revenue laws are a code or system in regulation of
          tax assessment and collection. They relate to taxpayers, and not to nontaxpayers. The latter are without their
          scope. No procedure is prescribed for nontaxpayers, and no attempt is made to annul any of their rights and
          remedies in due course oflaw."

                                                                  5                                          Exhibit "A"
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         18-     ''No attempt is made to annul any of their rights and remedies in due course of law." That part has
         apparently been omitted by the Federal Attorney General's Office, in its zeal to commercially profit from
         these revenue claims of seizing 'Black folks properties', for sale at auctions and other disposal farms;
B
0        19-    The effort to 'report' legal activities that occur 'outside of the United States, per requisite forms is
         necessitated by the multiple law enforcement seizures of said properties, to account ... since most thefts are
n        NOT ACCOUNTED FOR by the very law enforcement that brings arbitrary, unfounded claims to courts;

d        20      The UNITED STATES DISTRICT COURT is a legislative court, whereby the initial relief from said
e        UNconstitutional Seizures, my occur. (0'Donoghue v. U.S., 299 U.S. 516 (1933)] via an independent
         judiciary of federal judges, via Article III courts. Mookini v. U.S., 303 U.S. 201
d
        21-    The Third Party Plaintiff appeals for the dismissal of this action, for cause. "Where statute
        authorized Supreme Court to prescribe Criminal Appeals Rules in District Courts of the United States,
Five including named territorial court, omission in rules when drafted of reference to District Court of Hawaii,
Billion and another in the District of Columbia courts."

         22-     26 U.S. Code § 165 - Losses I U.S. Code l US Law I LII / Legal ... https://www.law.comell.edu > ••• >PART VI.
$        26 U.S. Code§ 165 - Losses. There shall be allowed as a deduction any loss sustained during the taxable year and not
         compensated for by insurance or otherwise; Per, Long v. Rasmussen,
5,       16-      Third Party Plaintiff request MANDATORY JUDICIAL NOTICE TO THIS AUTHORITY: (Long v.
0        Rasmussen, D. "f,;font. 1922) 281 F. 236; "Revenue laws are a code or system in regulation of tax assessment and
         collection. T!iev relate to taxpayers, and llot to 11011taxpavers. The latter are without their scope. No procedure is
         prescribed for nonta..xpayers, and no attempt is made to annul any of their rights and remedies in due course oflaw.
0        With them Congress does not assume to deal, and they are neither of the subject nor of the object of the revenue laws."

0,       17-    The United States of America has 'no legal interest in the, MELVIN HUGES, Estate/Trust; nor has the
         United States attorney presented, served or deposited any evidence of a Constitutionally constructed Search
0        Warrant, With A Notarized Affidavit attached thereto, upon the Third Party Plahltiff in this action.

0        18-      To this point, this is an exercise in 'fraudulent misrepresentation', on a private person, without the United
         States and without the United States of America. To which the Third Party Plaintiff reaffirms and reasserts
0,       'Objections' thereto. In both cases presented herein, no visible indication of "implementing regulations' for the
         enforcement of Subtitle A taxes, as service is apparent therein, as is required by law;
0        19-     The Third Party Plaintiff, IS NOT a U.S. citizen, federal person, (26 U.S.C. § 7701(a)(30). But at all times,
         has acted without the Feden1I Tenitories. Any instrument whereupon this party is presumed to have executed and
0        endorsed, is the area froIT' \Yhich any prosecution IvfiJST be commenced. And ... that is not (this) Federal Court.

0.       20-     And ... Gontracts 'requiring lawfhl money', are declared illegal,pursuantto 31 USC§ 5118(d)(2). With the
0        attorney general net depicting a 'lawful money symbol' before the dollar, its ambiguous as to what that person
         means when depicting the chosen symbol for <money>;

Q        21-     All of the, MELVIN HUGES, Estate/Trust references are secured by maritime liens, and posted at the
U ,S.D • Secretary of States' office as 'registered securities'; and are thereby financial assets to the corporate and organic
         California and the United States, as is known by the attorney general;

         22-      Corporations, as the United States, frequently and illegally, "sell their payables" to offset their balance
         sheets; such is referred to as secmitization"; i.e., 'off-balance sheet' financing. The CounterClaim filed hereby,
         forces 'admissicn by participating facilities the Third-Party Plaintiff wiH petition for the issuance of mandatory
         judicial notice for procuctfcn of documents and other materials to this matter.

                                                                  6                                          Exhibit "A"
,   SS 125A   Case 2:21-cv-04569-JAK-KS                    R .. KYLE
                                                        Document  10-1ARDOIN
                                                                        Filed 08/06/21                 Page 5 of 14 Page ID
'~,                                                       SECRETARY Of. STATE
                                                                  #:119

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    ~~~------- .-----"-----!!!!!!!!!!!-~--:=-'----------------/
                                                                      19027037-1



                             United States of America


                                                DEPARTMENT OF STATE
                          To all to whom these presents shall come, Greetings:
                    I Certify That the document hereunto annexed is under the Seal of the State(s) of Louisiana,
                 and that such Seal(s) is/are entitled to full faith and credit.*
                               *For the co11te11ts of the annexed document, the Department assumes 110 responsibility
                               This certificate is not valid if it is removed or altered i11 any way whatsoever




                                                    In testimony whereof, I, Michael R. Pompeo, Secretary of State ,
                                                 have hereunto caused the seal of the Department of State to be
                                                 affixed and my name subscribed by the Assistant Authentication
                                                 Officer, of the said Departmen~, at the city of Washington, in the
                                                 District of Columbia, this fifth day of April, 2019.




          Issued pursuant to CH.XIV, State of
          Sept. 15, 1789, 1 Stat. 68-69; 22 .                            7                                              Exhibit "A"
          USC 2657; 22USC 2651a; 5 USC
         Case 2:21-cv-04569-JAK-KS                                    Document 10-1 Filed 08/06/21                                                           Page 6 of 14 Page ID
                                                                              #:120
                                                                             CONCLUSION

         23-        In any instance, that jurisdictional challenge proceeds, the Third Party requests a hearing on the court's
         findings, proceeded by an ORDER TO SHOW CAUSE why the subject matter of this court is not wanting, and why
         the court should not order the attorney general to present facts showing the law(s) in question, are not wanting of
0        the structure that gives such laws applcation to the Third Party Plaintiff, or Common Law enforceability; and

         24-        In Any Such Event, Third Party Plaintiff, shall requests the court schedules that matter for hearing on final
d        decision, and accept this party's NOTICE OF APPEAL and request for STAY OF EXECUTION PENDING THE APPEAL OF
         THE COURT's RULING/ORDER.
e
                                          ,                                                               Affirmation
d
         One,   Me,J 1l1· n fl,u9e;
                               affirms the above and foregoing is the truth, the whole truth, and nothing but the truth, so
  .      hel.p one, God, 01\i: Los Angeles; ON: California: without the United States' and it's local and, or geographical
F we
Billionjurisdi~tion as requrired ~Y (26 U~C § 6013(g)(3} and 26 U~C § 871(D). "In orde~ for :real property to be trea~ed as
         'effectively connected with' a United States trade or busmess by way of election, 1t must be located wlthm the
         geographical United States (26 USC§ 871(d).

s        Provisions cited above preclude any and all legal authority for Citizens of the several Stated or privately owned

5,       enterprise located in the several Sta.tes to participate in federal tax and benefit programs prescribed in Subtitles A
         & C of the Internal Revenue Code and companion legislation such as the Social Security Act which provide benefits

0        from the United States Government, which is a 'foreign corporation 1 to the several States."

                                                                                                                                 Without Prejudice,
0
                                                                                                                    By: ,'/Yl   ·e/ v Af' // I{ J:l i 13 t> B
0,                                                                                                                  melvin huges, private party, 1308

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0

0
0                                                                CALIFORNIA JURAT WITH AFFIANT STATEMENT
                ~A'YI..W/14i-171..W&!W".I.W......AY.J:W4?M'l44'71.4WIM""/4!W'4"'"M".,-~AWA?'l&IWAWN-'6'YIA!F',W,W/,,W'AW'a'AVl/41WI..W/M'Af'.M'IM'T"~~~~~M~~~~~l~~~~~l~I~

                otary publlc or other officer completing this certificate verifies only the Identity of the individual who signed the d
0.        I to which this certification Is attached and not the truthfulness, accuracy or validity of that document.
          ~..WMM'...iW'M-'Arl.&:V/4'W"H/.WY4Vl/4Wm'M'~...WM"#'-W,W,/$.#/4M"A"...Af'M"4-'IAF.YM"l&SV~IMP/..IW'..l"~~H~l~~~,~~l~~~~,~~~;~¥~~~-4.:W-,,:,


            STATE OF CALIFORNIA                                )
                                                               )SS:
            COUNlY OF LOS ANGELES                              )

            Subscribed and swomto (or affirmed) before me on this 28th day of July, 2021, by: M\::;l..\)1.rJ                                              {1,,,t\G ~ 'S provedtomeonthe
U,S.D.      basis of satisfactory evlde ce to be the person who appeared before me.                                                     Melvin Huges, Trustee o he, MELVIN HUGES, Estate
                         \ ,~         '
                                                 , ~~t),.,
                                                         ,
                                                                        .                                       ,                                      LUISA.WHITE NOTARYSERVICESlLC
                                                                                                                                                       6514 MENLO AVE.
                                                                                                                                                       Los Angeles, Calif. (90044)
                            NotGs·                                1r•-·--:,-•:•-'""-•_,,• -
                                                                                            00
                                                                                                            '""'""-Lu-,s-•~-•:-~•-~,-~~-,,..,._,_,,,..,._.,_,.,lon domestic without the United States
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                                                                  ~     •                          • Commission No. 2217893                            z
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                                                                               .                 •f        NOTARY PUBLIC-CALIFORNIA
                                                                                                              LOS ANGELES COUNTY                       J
                                                                  III
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                                                                                                                8
                                                                                                       My Comm, Expires October 12, 2021
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                                                                                                                                                                                   Exhibit "A"
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                                    #:121
Private    Registered Mail Tracking Number_ __




                       EVIDENCE No.



                            REQUEST FOR:

  MAN DAT_, RY/ DISCRETIONARY
        JtJD!CIAL ~JOTICE




                                      9                               Exhibit "A"
          Case 2:21-cv-04569-JAK-KS                  Document 10-1            Filed 08/06/21          Page 8 of 14 Page ID
:!~S .. Public Notice ~~aud~\-? :;\""ii"'J f\'l;,,\                                                              ,. -e- - ~~ ~--
                                                             #:122
•·                   'k-0~               \~'./:"\\\. \YF' .,, ·
,2. Toe Director shall perfonn the~~~tiJ~;.;;~~\rcis'e\~}'powers and carry out the duties of the Secretary and the
 administration and the enforcement of the following provisions of law:
 ;A. Chapters 51 and 52 and 53 of the Internal Revenue Code of 1954 and Section 7652 and 7653 of such code insofar as they
  .· • 1ate to the commodity subject to tax under such chapters.
  :13. Chapter 61 to 80 inclusive to the Internal Revenue Code of 1954 insofar as they relate to activities administered and
        forced with respect to chapters 51, 52, 53. (emphasis added)
'. Transfer of functions and duties of IRS to BATF relative to Internal Revenue Code Subtitle F (chapters
Jl to 80) is important where the instant matter is concerned as the only regulations pu.blished in the
 federal Register applicable to the several States are under 27 CFR, Part 70 and other parts of this title
relating exclusively to alcohol, tobacco and firearms matters. However, the charade doesn't end there. In
   ?·organization Plan No. 1 of 1965 (5 USC§ 903), the original Bureau of Customs~ created by Act of
    , ngress in 1895, was abolished and merged under the Secretary of the Treasury.
    In a Treasury Order published in the Federal Register of December 15, 1976, the Secretsry of the
 ,,"reasury used something of a slight of hand to confuse matters more by dei.-ennining, "The term
'Pirectori t\lc~hol! Toba~£2, a n ~ ~ has bee? repla~ed with t~e term ,~j~W,~!,l~~~~-"
  . Obviously, 1t is 1mposs1ble to replace a person with a thing when 1t comes to admm1strattve
 :responsibility. However, the order demonstrates that IRS_and 1lAIF..,:r.e....o~d..tl.i~~ merely
jiperating with inteichangeable hats. Therefore, definitions and designations applicable to one are
iapplicable to theother. .·              . ·•. .     i

\ In defmitiQfis af27 CFR § 250~thefollowing provisions are found:
    lRevenue Age~uly.cauthomea Commonwealth Internal Revenue Agent of the Department of the Treasury of Puerto
  , "co.
 r: Secretary. Toe Secretary of the Treasury of Puerto Rico.
\,Secretary or his delegate. Tbe Secretary or any officer or employee of the Depai-tment of the Treasury of Puerto Rico duly
(fiuthorized by the Secretary to perfonn the function mentioned or described in this part.
:·--:            '



\ Jn the absence of any other definition describing revenue officers and agents, the Secretary, or the
       _epartmentofthe Treasury, definitions above are unifonnly applicable to all IRS and BATF
     ij~partments, :functions and personnel. In fact, it will be found that even petroleum tax prescribed in
     ;~ubtitle D of the Internal Revenue Code applies only to· United States territorial jurisdiction exclusive of
      th,e several States and to imported petroleum. BATF has authority only with respect to· firearms,
      .,.. uni~ons, etc., produced outside the several States and the first sale of imports.
            \cetwQ delegatio~of ~ru:ity,to the Commissioner of Internal Revenue thus far located tend to
       .'"fuforce conclusions set out above. Treasury Department Order No. 150-42, dated July 27, l 956,
        ppearing in at 21 Fed. Jleg. 5852, specifies the following:
          e Commissioner shall, to the extent of the authority vested in him~~.~atio_!} of United States internal
         e uel ws in the Panama S!!!l,fR!1J; ~erto Ri,_£2, and the YkWll ~!!!t<!,

     }.ton February 27, 1986 (51 Fed. Reg. 9571), Treasury Department Order No. 150-01 specified the
     following:
     .,'.fhe Commissioner shall, to the extent of authority otherwise vested in him. provide for the administration of the United
     ;States internal revenue laws in the U.S. Territories and insular possessions and other authorized areas of the world.

 ·• . To date only thr~e sm,tutesJn the Internal Revenue Code of 1986, as currently amended, have been
    located that specifically reference the several States, exclusive of the federal States (District of
    Columbia, Puerto Rico, Guam, the Virgin Islands, etc.): 26 USC §§ 5272(b), 5362(c) & 7462. The first
    two provide certain exempti<>ns to bond and import tax requirements relating to imported distilled spirits
    for governtnents of the several States and their respective political subdivisions, and the last provides
    that reports published by the United States Tax Court will constitute evidence of the reports in courts of
    the United States and the several States~~one QI the three statutes extend assessment or collections
    authority for IRS· or BATF within the several Statesft                           -       ·
    . IR$ is contracted to provide collection~~ the ~@9yfor International DevelopJn~ and case
    law demonstrates that the true principals of interest are th~JntemationalJ•4c;mfil,mJ11.rul and !}le )£orld.


        http://www.deepinfo.com/memopubl.htm                         10                                              Exhibit "A"
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                       EVIDENCE No.



                            REQUEST FOR:

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                                     11                               Exhibit "A"
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or        egister in support of§ 7433 (see Parailel Table of AuthoritieB- and Rule:S\ beghmlllg                              page 751 of the
         dex volume to the Code of Federal Regulations). Therefore,§ 7804(b) preserves rights and determines
         e nature of civil actions for -rem._edies in the several StaJts. Wlien straiglrtened out, applicable portions
1d      J § 7804(b) read as follows:                              /
        \Nothing in [the Internal Revenue Code] shall be considered to•impair any right, [including trial by jury}, or remedy, [***],
         · · recover any internal revenue ta,.'C alleged to have been e1TOrteously or illegally assessed or cdlected ... The venue of any
.do..     nch action shall be the same as under existing law.           ""
         :Th.~ necessity Q.! d-g~_R.rQa~~?~.is.impl_i£j!lypr~~~rY~-hy._28JJSC-§2463~ which stipulates that any
                       under Unitfili States rey~nµe 1?,tws ~will'b~,i;leeme4in..the custodv ofthe.law?>nd_ subjei;;t sol~ly__to
            s osition of'lcourts o:fthe Uniteg St~tes"Y'1'1IDP!'QQ~rjwi.~gJ9tjgg. In other vrords, even if IRS had -
           1l~3t;.Ia,µthonty· · e several tates, the agency would of necessity have to file a civil or criminal
ttes       · 'J>lai1.1tpriorto garnishment, seizure or any other action adversely affecting the Hf~, liberty or
ibe                ~,:ofany given person. whether a f9utte:~p,tl,1A,m.enclm,er:,t Qttiz~p.':'.;3u._bj_~~t qf th~.Urnte.d.St~ti;,s QJ a
                    -., rincipm_,of one_ofthe_several .States. Due process assurances in the Fifth and Fourteenth
              endments do not equivocate -- administrative seizures without due process can. b,.e equ:ated oriJy to
ru             . .•. . ,""El,lld barbarian rule. Further, even regulations governing IRS conduct ac1:w.o'vvledge and therefore
              erve Fifth Amendment assurances at 26 CPR§ 601.106(f)(l).
                    B,ule I.An exaction by the U.S. Government, which is not based upon law, statutory or otherwise, is a taking of property
                 ~out due process oflaw, in violation of the Fifth Amendment to the U.S. Constitution. Accordingly, an Appeals
                 resentative in his or her conclusions of fact or application of the law, shali hew to me law and the. recognized standards of
                   I construction. It shall be his or her duty to determine the correct &ilount offue ta'!:, with strict impmtiality as between the
                  ·ayer and the Government, and without favoritism or discrimination as between taxpayers,

                 :.~n officers, agents and employees of United States agencies are assured due process where
                 ,, isbment is concerned (5 USC § 5520a), so the notion that IRS has authority to execute garnishment
                    pther seizures via the private sector without due process is clearly absurd. ~~~~~&1].-•:P.P;ricap /·
                    ·· e .due process h~s ~l~y~~~S.~~m~gJQJ~!~an ~~l~~der~~§J?:~~gmm2n.Ja~                                  /
                        ous to tli~ seve!:fil.~tE!t~?; }Ii~ 9~J~ p~gpJst~l\m~!!£!!.!M'.~JJ9t§µ~ JQ..~QIDJ.Is!lt)'.9I     /tr'·
                         trative ,m_Y!}-.fil§_.                                                                         _,,,,,,__
:I,                 .·ete officers, agents and employees of the Internal Revenue Service are concer:ied, there ca.11 be no
                     of ignorance concerning the necessity of due process as the Ha.n<lboQkfor Rt)venueAge_nts,.at
                      ·      · · 2: (.l),#provides the following:
                    ·~g the course of administratively collecting a tax, an occasion may arise where service of a levy or a notice of levy is
                     equate to seize the property of a taxpayer. It cannot be emphasized too strongly that constitutional guarantees and
                   Jtfiial rights must not be violated. Property should not be forcibly removed from the person of the taxpayer. Such
                   uctmay expose a revenue officer to an action in trespass, assault and battery, conversion, etc.

                 , e provision aclmowledges the Supreme Court decision in_Larson v~_:Qm;n~sti~a.rid Foreign
                   trimer~e Corp. 337 U.S. 682 (1949).
                  sum, the mandate for due process, meaning initiatives through judicial courts v,'ith proper jurisdiction,
                 clearly antecedent to imposition of administratively-issued liens, except where licensing agreements
                 · jgate assets, or seizures, whether by garnishment, attachment of bank accounts, administrative seizure
                  .,;·sale of real or private property, or any other initiative that compromises life, liberty or property.
                           3. Current Internal Revenue Code & Internal Revenue Code of 1939 Are Same

                        .t 26 USC §§ 7851 & 7852 to verify that the Intemal Revenue Code of 1954, as amended in
                         ··"since, simply reorganized the Internal Revenue Code of 193 9. Read § 7852(b) & (c), then read
                           ' ¢\of§§ 7851 & 7852 for best comprehension.
                               ·· ce of making this connection rests on the fact that the Internal Revenue Code of 1939 was
                              .·, ,~ation of the Public Salary Tax Act of 1939. There was no general income. tax levied
                                pulation at large in 1939 or since. The Public Salary Tax Act of 1939, which in the


                        ·'iW.qeepinfo.com/memopubl.htm                     12                                               Exhibit "A"
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                       EVIDENCE No.
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                         REQUEST FOR:

  MANDATORY/ DISCRETIONARY
      JUDICIAL NOTICE




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       ~
       ~ )/

~x£/)' are described as mere extensions of the administrative agency for sup~rior reviewing
                                      1


 ~ ;7,/ purposes' as a ministerial clerk for an agency ..." 30 Cal.596; 167 Cal 762. And;
        S:iifM..~l"a,tt{VI~ °1M Vt (!.o. /.  '      1
                                                                 A
        ~ t R"~e.{s;-c,0, tto1 ~ ?,z         "':.A,pparent agen9{
           Kotera v. Daioh Int'l U.S.A. Corp,9509-06556; A100452 (Or. 01/30/2002) (In the absence of
           agency based on actual authority, plaintiff ff.MNCHIS~ TAX BOARD) was required to·
           -P!l!d!1£~Yi.4.e,:g.£~of aPJ~areni agency t~tf'.Y.-ru?.Ort personal jurisdiction over (Defendant).
           Miller v. McDonald's Corp., 150 Or App 274,282, 945 P2d 1107 (1997). To establish apparent
           agency,Jt~mi#f must have offered eviden~~- that (1) Defendants held out Plaintiff as an
           agent, and (2)plaintiffjµstifiably~lied on tl!,aJ}.mgin_g out. See id. at 282-83. Plaintiff
           aU~g.,~.~ith~r such 1-'~ut" hyl!ef,gtt4m.lts nor relian4;:e on plaintiff's part. The only
            evidence of "'holding out" came from the affidavit submitted by Defendants, which
           acknowledged that Plaintiff was a director of the corporation. However, no evidence betore
           the trial court established that plaintiff relied on that infonnation in agreeing to the
            transaction. Accordin_g}.:¾thm...~as insufficient evidence .Qdore the trial court to support
           ;m exercise gf pe.rson;tljtLrisdictfon over D~fendan.J.t and the ,mal court erred in denying
           1?~,f~n~f§,,,!ll.£f:J2J!EL{!ismiss on that gr~Y:11$,

            14. Although courts sometimes have used "apparent authority" and 1'ap:P,arent agency'
             interchangeably, the distinction is important. ''Apparent agency creates an agency_
           .!~!cJ!i'!!!!.¥JlJ!l~L~!!~~!!Qlo t ~ ~ J ,..while ~Rllarent aqfbority expapd§ the authority
             of an actual agent;'" Miller, 150 Or App at 282 n 4. Thus, apparent authority is relevant only
             if actual agency already has been established. Here, because plaintiff has offered no
             evidence to establish the existence of an actual agency, apparent authority is not
            implicated.);

                ORCP 21(A) (Defenses and Objections_, How presented) (Every defense, in law or fact, to a
                claim for relief m any pleading, whether a complaint, counterclaim, cross-claim or third
                party claimr shall be asserted in the responsive pleading thereto, except that the following
          f ,i';-cdefonses may at the option of the pleader be made by motion to dismiss: (1) lack of
            0
, ·\ ,JI.)"     ju.,,_.i§diction over the subject matter, (2) Jack of jurisdiction over the person,"A judge ceases
     1


'\J'f. .\       to sit as a judicial officer because the governing principals of administrative law provides
                th.at courts are prohibited from substituting their evidence, testimony, record, arguments
                and :ratfonale for that of the agency.

            Additionally, courts are prohibited from their substituting their judgments for that of the
            agency.,; American. Iron c.nd Steel v. United States. 568 F.2d 284. And;".•. judges who
            become fu;~):~;J~enforcement of meie~tafutis<civil or criminal in nature and
                                                                                                                              f
            ofuerw.we), act as 11.1.e:re .uderks•·~ of the involved agency... " K.C. Davis., ADMIN. LAW, Ch.                 ..:
            1 (CTP. WeBes 1965 Ed.) u ••• their supposed #courts" becoming thus a court of "limited '
            juri_sdiction"as a mere extension of the involved agency for mere superior reviewing · .                         J
            p_UJr!'oses/' K,C Davis, ADMIN. LAW., P. 95, (CTP, 6 Ed. West's 1977)> FRC y. G.E., 281 U.S.
            464; Kelle:r v; P"E.P., 261 U.S. 428. And; A soQcalled Municipal or District court that is not a
            constitutional court is a legislative tribunal.                           ~~'tK'; 0 ,r-
            m speaking on this subject in relation to the Constifu&n for the united States of America,                        (


                                                        14                                     Exhibit "A"
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                                 PROOF OF SERVICE
                         (C.C.Pt 1013 {a}); 2015.5; 28 U.S.C. 1746

        I, Cheri Ewing • am over the age of (18) years, and I am not a party to the within cause
of action. My location is:

                                               Cheri Ewing
                                               72-630 Ramon Road #1012
                                               Thousand Palms, CA (922761



      On,    July 28, 2021     , I personally served the following documents:
                           rd
      COUNTERCLAIM BY 3 PARTY PLAINTIFF, MEMORANDUM AND PETITtON FOR ORDER
TO DISMISS WITH PREJUDICE, MEMORANDUM OF POINTS AND AUTHORITIES, AND ORDER TO
      SHOW CAUSE IM THE ALTERNATIVE TO SAID PETIT1ON FOR RELIEF

by depositing a true and correct copy thereof in the United States mail at the Cental Main
Station In Los Angeles, California 9Q044, with postage fully paid thereon, addressed as follows
to:

                                             CV 21-04569-AFM
                                             1400 United States Courthouse
                                             312 North Spring Street
                                            los Angeles, CA 90012

       I have read the above statement(s) and do declare it to be the truth, the whole truth,
and nothing but the truth so help me God.

Executed this 28th ,day of July, 2021,

                                                        Without                          ~
                                                                                          Cb67>
                                                      By:_ _~--f.:.'41-i,!-,-,-,;'-----1----1,-
                                                           Cheri Ewing




                                               15                                    Exhibit "A"
                                        Case 2:21-cv-04569-JAK-KS                                                    Document 10-1 Filed 08/06/21   Page 14 of 14 Page
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